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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:05CR3082
           v.                        )
                                     )
LUIS F. NUNEZ and                    )
ERIKA M. PENA,                       )                   ORDER
                                     )
                Defendants.          )




     Defendant Nunez’s oral motion to continue suppression
hearing was granted in open court on September 19, 2005, but a
new date for the hearing was not set.


     IT THEREFORE HEREBY IS ORDERED,

     The hearing on defendant Nunez’s motion to suppress, filing
20, will be combined with the hearing of co-defendant Pena’s
motion to suppress, filing 24, on October 26, 2005 at 2:00 p.m.
The hearing is scheduled for a duration of two and one-half
hours.

     DATED this 27th day of September, 2005.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
